                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In re:                                              Case No. 23-43403-mlo
                                                    Chapter 11
Ark Laboratory, LLC,                                Hon. Maria L. Oxholm

Debtor.

               FOURTH ORDER AMENDING INTERIM ORDER
                AUTHORIZING USE OF CASH COLLATERAL
                AND GRANTING ADEQUATE PROTECTION

 This Fourth Order (the “Order”) further amends the Interim Order Authorizing Use

 of Cash Collateral and Granting Adequate Protection (Doc. 43) entered by the Court

 on April 24, 2023 (the “Initial Interim Order”), as amended by the Order Amending

 the Initial Interim Order (Doc. 101) entered by the Court on May 11, 2023 (the “First

 Amendment”) and as further amended by the Second Order Amending the Initial

 Interim Order (Doc. 108) entered by the Court on May 16, 2023 (the “Second

 Amendment”) and the Third Order Amending the Initial Interim Order (Doc. 124)

 entered by the Court on May 23, 2023 (the “Third Amendment”) (the Initial Interim

 Order, as amended by the First Amendment, the Second Amendment and the Third

 Amendment, is defined as the “Interim Order”), as follows:

 1.      Undefined capitalized terms in this Order have the meanings set forth in the

 Interim Order.



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2.    The May 31, 2023 date referenced in section 1(c) of the Interim Order is

changed to June 8, 2023 so that the sentence reads, “Debtor’s ability to use cash

collateral under this Order on an interim basis shall continue through June 8, 2023

(the period from the Petition Date through such date is defined as the “Interim

Period”), unless it terminates under the terms of this Order based upon a default by

Debtor before the end of the Interim Period as described below (“Termination

Date”).”

3.    The Budget for the period through June 8, 2023 is the budget filed on May 31,

2023 as an Exhibit to Docket No. 130.

4.    The $2,780,046 figure referenced in section 14 of the Interim Order is changed

to $3,136,885 so that the sentence reads, “Notwithstanding anything else to the

contrary, Debtor may not use more than $3,136,885 during the Interim Period.”

5.    To the extent that an evidentiary hearing is required, absent further Court

Order, the evidentiary hearing on this matter shall be held in-person on June 8, 2023

at 11:00 a.m. Consistent with the Notice of Change in Procedure for Judge Maria

L. Oxholm filed April 12, 2022, effective immediately and until further notice, Judge

Oxholm will conduct all conferences and non-evidentiary hearings by telephone. At

least five minutes before the scheduled time for the hearing, counsel and parties

should call (877) 336-1831 and use Access Code 6226995. Landline connections

are much preferred, but cell phone or other telephone services are allowed. Counsel


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and parties should place their phone on mute and wait until their case is called before

umuting their phone and participating.

6.    Debtor shall serve a copy of this Order within 24 hours after entry of this

Order under Federal Rule of Bankruptcy Procedure 4001(d) and Local Rule 4001-2.

7.    In all other respects, the Interim Order remains in full force and effect.

8.    All objections to the Motion or the Interim Order are preserved for all parties.

Signed on June 2, 2023




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